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sT. MICHAEL MoToR EXPREss, INC., § @@%,
Plainaff, )
)
v. ) civil NO. 1;05-1104-T
)
iNTsRNAL REVENUE sEvacE, )
)
Defendant. )

RULE 16(b1 SCHEDULING ORDER

Pursuant to the scheduling conference set by Written notice, the following dates
are established as the final dates for:
I. Initial Disclosures

Inasmuch as this case consists of the Court’s review of an administrative record,
this case is exempt from the initial disclosure requirements E, Fed. R. Civ. P.

26(a)(1)(E)(i); see also L.R. 16.1(b) (reviews of administrative record exempt from

 

scheduling requirements). The United States Will provide plaintiff With a copy of the
administrative record by August 12, 2005.
II. ]0ining Parties

Plaintiff : October 28, 2005.

Defendant: November, 29, 2005

III. Amending pleadings

Thls document entered on the docket sheet ln compliance
with Rule 55 and,'or_?Q (a) FHCP on

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Plaintiff: October 28, 2005.

Defendant: November 29, 2005.
IV. Completing Discovery

Because this case arises under 26 U.S.C. § 6330 and is a judicial review of an
administrative hearing, the Court will limit its review of the determination of the
lnternal Revenue Service to the administrative case history of the hearing This order is
without prejudice to the Plaintiff filing a motion requesting that discovery be allowed or
that supplementation of the administrative record be permitted, based upon the specific
facts of this case.
V. Filing Dispositive Motions

The deadline for filing dispositive motions shall be March 19, 2006 Opposition
briefs and reply briefs shall be filed within the deadlines set by the Local Rules.
VII. Other Relevant Matters

The parties may consent to trial before the Magistrate ]udge. The Magistrate
]udge can normally provide the parties with a definite trial date that will not be
continued unless a continuance is agreed to by all parties, or an emergency arise which
precludes the matter from proceeding to trial.

The parties are encouraged to engage in court»annexed attorney mediation or

private mediation on or before the close of discovery.

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This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be
modified or extended

IT IS SO ORDERED:

¢:§.W_wmi @.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE ]UDGE

Date: % ;Q[ 306_4

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case l:05-CV-01104 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Michael P. Coury

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Honorable J ames Todd
US DISTRICT COURT

